             Case 2:22-cv-00784-GAM Document 14 Filed 04/25/22 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

STRIKE 3 HOLDINGS, LLC                        :
                                              :
        v.                                    :      CIVIL ACTION NO. 22-784
                                              :
JOHN DOE subscriber assigned                  :
  IP address 68.82.243.29                     :

                                             ORDER

        This 25th day of April, 2022, it is hereby ORDERED that Defendant’s motion to quash

the subpoena or in the alternative for a protective order, ECF 6, is DENIED in part and

GRANTED in part.

        Defendant’s motion to quash the subpoena is DENIED. Comcast shall not be restricted

from disclosing Defendant’s actual identity to the Plaintiff pursuant to the subpoena.

        Defendant’s motion for a protective order is GRANTED as follows. It is ORDERED

that:

    A. All documents containing Defendant’s name, address, or the names and addresses of any

        person associated with Defendant must be filed under seal temporarily. Any document

        filed under seal shall also be sent via e-mail to Chambers the same day as filing. A

        redacted version of all documents must be filed and made publicly available.

    B. Plaintiff shall not otherwise publicize or make known Defendant’s identity, address, or

        the names and addresses of any person associated with Defendant while the case is under

        seal.

    C. Plaintiff is granted leave to file an unredacted version of its Amended Complaint,

        Amended Civil Cover Sheet, Proposed Summons, and any Proof of Service/Waiver of

        Service under seal. Plaintiff must file a redacted version of the Amended Complaint,
     Case 2:22-cv-00784-GAM Document 14 Filed 04/25/22 Page 2 of 2




   Amended Civil Cover Sheet, and Proof of Service/Waiver of Service on the docket.

D. If an Amended Complaint is filed, the Clerk of Court shall file the approved summons

   under seal and provide a copy to Plaintiff’s counsel, via email, to effectuate service.

E. The Clerk of Court shall maintain the caption of this case identifying Defendant as “John

   Doe subscriber assigned IP address 68.82.243.29”

F. If Defendant would like his/her personal identifying information to remain under seal,

   Defendant must file a motion to proceed anonymously on or before thirty days after

   service is effectuated. All information will remain under seal until the Court decides any

   such motion. If Defendant does not file a motion to proceed anonymously, the Court will

   lift the seal.


                                                  /s/ Gerald Austin McHugh
                                                  United States District Judge
